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                                   STATEMENT OF FACTS

       On January 6, 2021, your affiant, Federal Bureau Investigation (FBI) Special Agent
Jonathan Fugitt, was on duty and performing my official duties as a FBI Special Agent.
Specifically, I am assigned to the Violent Crimes Branch of the FBI, specifically FBI Washington,
D.C.’s Cross Border Task Force, tasked with investigating criminal activity in and around the
Capitol grounds. As a FBI Special Agent, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detention, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in
the Senate chamber.

        With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside. At approximately
2:00 p.m., certain individuals in the crowd forced their way through, up, and over the barricades
and officers of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the
building. At such time, the joint session was still underway and the exterior doors and windows of
the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted
to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,
individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows.
Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.


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        Media coverage of these events and photographs posted to social media showed one of the
rioters who entered the Capitol building and the below individual dressed in brown/tan coat,
wearing a hat and glasses, and a backpack on his back. This individual carried an American flag
in his hand. The screenshots below of photographs posted on Facebook and other media sources
show this individual in the halls of Congress and his commentary of the events inside.




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        In fact in the social media post immediately above for an account for Kevin Loftus, stated
that “i am wanted by the FBI for illegal entry” in a reference for his unlawful entry into the U.S.
Capital. In addition, On January 8, 2021, agents from the FBI interviewed WITNESS 1 who
identified the person depicted in the above photos as KEVIN DANIEL LOFTUS. WITNESS 1
stated IT went to school with LOFTUS and immediately knew it was LOFTUS in the photos posted
on Facebook and included herein. WITNESS 1 stated IT was 100% sure on the individual depicted
in the photos was LOFTUS. Your affiant has viewed pictures posted to the Facebook account for
Kevin Loftus on January 8, 2021, in which LOFTUS bears these same distinctive appearance.
Finally, LOFTUS has also been identified by law enforcement through open source data bases,
including his Wisconsin DMV driver’s license photo, as the person depicted inside the Capitol and
on the Senate dais on January 6, 2021.

       Moreover, on January 9, 2021, during an interview of LOFTUS conducted by the FBI in
Eau Claire, Wisconsin, LOFTUS admitted to walking inside the U.S. Capitol on January 6, 2021.
LOFTUS also admitted to walking on what he thought was the top floor of the U.S. Capitol where
LOFTUS took several photos while he was inside the building walking around.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
LOFTUS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret

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Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.
Your affiant submits there is also probable cause to believe that LOFTUS violated 40 U.S.C.
§ 5104(e)(2)(A) and (G), which makes it a crime to willfully and knowingly (A) enter or remain
on the floor of either House of Congress or in any cloakroom or lobby adjacent to that floor, in the
Rayburn Room of the House of Representatives, or in the Marble Room of the Senate, unless
authorized to do so pursuant to rules adopted, or an authorization given, by that House; and (G)
parade, demonstrate, or picket in any of the Capitol Buildings.




                                              ___________________________________
                                              SPECIAL AGENT JONATHAN FUGITT
                                              FEDERAL BUREAU OF INVESTIGATION



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 11th day of January 2021.


                                                Robin M.        Digitally signed by
                                                                Robin M. Meriweather

                                                Meriweather Date:     2021.01.11
                                                                15:03:23 -05'00'
                                              ___________________________________
                                              ROBIN M. MERIWEATHER
                                              U.S. MAGISTRATE JUDGE




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